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                                     LINITED STATES DISTzuCT COUR]

                                          THE DISTRICT OF OREGON

                                             PORTLAND DIVISION


D. JEANETTE FINICUM; THARA TENNEY;                                   Case   No.   2:   1   8-cv-00160-MO
TIERRA COLLIER; ROBERT FINICUM;
TAWNY CRANE; ARIANNA BROWN;                                DEFENDANT HARNEY COUNTY'S
BRITTNEY BECK; MITCH FINICUM;                                        LR 4I-2 STATEMENT
THOMAS KINNE; CHALLICE FINCH;
JAMES FINICUM; DANIELLE FINICUM;
TEAN FINICUM; and the ESTATE OF
ROBERT LAVOY FINICUM,

                                   Plaintiffs,
         V


LINITED STATES OF AMEzuCA; FBI;
BLM; DANIEL P. LOVE; SALVATORE
LAURO; HARRY MASON REID; GREG T
BRETZING; V/. JOSEPH ASTARITA;
STATE OF OREGON; OREGON STATE
POLICE; KATHERINE BROWN;
RONALD LEE WYDEN; HARNEY
COUNTY; DAVID M. WARD;
STEVEN E. GRASTY; THE CENTER
FOR BIOLOGICAL DIVERSITY;
and JOHN DOES 1-100,

                                   Defendants.




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              Case 2:18-cv-00160-MO        Document 204      Filed 11/22/21    Page 2 of 3




             Pursuant to LR 4I-2(a), Defendant Harney County timely provides the following party

statement:

             Currently pending before this Court is Defendant Harney County's Motion to Dismiss (ECF

193), filed against Plaintiffs' Third Amended Complaint (ECF         189). Plaintiffs did not file an
opposition response.

             Plaintiffs recently tendered a o'Fourth Amended Complaint," apparently without receiving

leave to do so, and subsequently f,rled a corrected ooMotion for Leave to Amend to File a Second

Amended Complaint (ECF 200). Attached to Plaintiffs' Motion for Leave to Amend is a proposed

"Amended Complaint" (ECF 200-l).

             Both the Third Amended Complaint and the newly proposed Amended Complaint continue

to plead conclusory statements without underlying facts and are procedurally incorrect. The Amended

Complaint also asserts allegations against defendants who were previously dismissed from this lawsuit,

including the "Harney County Sheriff' and the "Head of Harney County." Further, plaintiffs' Ninth

Cause of Action for Excessive Force against the individual defendants in their individual capacity could

arguably be against the Harney County Sheriff or the Head of Harney County. These defendants were

previously dismissed by Judge Sullivan and adopted for dismissal by this Court pursuant to ECF 180.

             For the reasons set forth in Defendant Harney County's Motion to Dismiss (ECF 193), this

defendant respectfully requests that this Court deny Plaintiffs' Motion for Leave to Amend (ECF 200)

and dismiss with prejudice all remaining claims against Harney County.

             DATED this22"d day of November, 2021.

                                         FROHNMAYER, DEATHERAGE, JAMIESON,
                                         MOORE, ARMOSINO & MoGOVERN, P.C.

                                         s/ Thomas F. Armosino
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                                      CERTIFICATE OF SERVICE

I hereby certify that I served the foregoing DEFENDANT HARNEY COUNTY'S LR 41-2
STATEMENT upon:

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 Of Attorneys for Defendants State     of           Of Attorneys for United States and
 Oregon; Oregon State Police; and                   Gregory T. Bretzing
 Governor Kate Brown

By automatic electronic transmission via the Court's Case Management/Electronic Case Files
system.

               DATED this22"d day ofNovember, 2021.

                                            FROHNMAYER, DEATHERAGE, JAMIESON,
                                            MOORE, ARMOSINO & McGOVERN, P.C.

                                            s/ Thomas F. Armosino
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